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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

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 UNITED STATES OF AMERICA,

 Plaintiff,

 v.                                                                                            20-CR-330-AJN
 GHISLAINE MAXWELL,

           Defendant.

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                         MOTION FOR ADMISSION PRO HAC VICE

          I respectfully mover under Rule 1.3(c) of the Local Rules of the United States Courts for

the Southern and Eastern Districts of New York for an Order for admission to appear and

practice Pro Hac Vice as counsel for the defendant Ghislaine Maxwell in the above-captioned

action.

          I submit in support of the Motion the attached Declaration of Jeffrey S. Pagliuca.

          July 8, 2020
                                                                               Respectfully submitted,

                                                                               s/ Jeffrey S. Pagliuca
                                                                               Jeffrey S. Pagliuca, Colorado Atty. Reg. #12462
                                                                               HADDON, MORGAN AND FOREMAN, P.C.
                                                                               150 East 10th Avenue
                                                                               Denver, CO 80203
                                                                               Phone: 303.831.7364
                                                                               Fax:      303.832.2628
                                                                               jpagliuca@hmflaw.com

                                                                               Attorney for Ghislaine Maxwell
          Case 1:20-cr-00330-AJN Document 15 Filed 07/08/20 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I certify that on July 8, 2020, I electronically served this Motion for Admission Pro Hac
Vice via ECF on the following:

 Alex Rossmiller
 Alison Moe
 Maurene Comey
 U.S. Attorney’s Office, SDNY
 One Saint Andrew’s Plaza
 New York, NY 10007
 Alexander.rossmiller@usdoj.gov
 Alison.moe@usdoj.gov
 Maurene.comey@usdoj.gov


                                                     /s/ Nicole Simmons




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

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                                                  ------------------------------
 UNITED STATES OF AMERICA,

 Plaintiff,

 v.                                                                                            20-CR-330-AJN
 GHISLAINE MAXWELL,

         Defendant.

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                        Declaration of Jeffrey S. Pagliuca in Support of
                             Motion for Admission Pro Hac Vice

   I, Jeffrey S. Pagliuca, declare as follows:

   1.     I am an attorney at law duly licensed in the State of Colorado. I am a member of the

law firm Haddon, Morgan & Foreman, P.C., I respectfully submit this Declaration in support of

my Motion for Admission Pro Hac Vice.

   2.     I have not ever been convicted of a felony.

   3.     I have not ever been censured, suspended, disbarred or denied admission or

readmission by any court.

   4.     There are no disciplinary proceedings presently against me.

   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on July 8, 2020.

                                                                              s/ Jeffrey S. Pagliuca




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                                 CERTIFICATE OF SERVICE

       I certify that on July 8, 2020, I electronically served this Declaration of Jeffrey S.
Pagliuca in Support of Motion for Admission Pro Hac Vice via ECF on the following:

 Alex Rossmiller
 Alison Moe
 Maurene Comey
 U.S. Attorney’s Office, SDNY
 One Saint Andrew’s Plaza
 New York, NY 10007
 Alexander.rossmiller@usdoj.gov
 Alison.moe@usdoj.gov
 Maurene.comey@usdoj.gov


                                                       /s/ Nicole Simmons




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

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                                                  -------------------------------
 UNITED STATES OF AMERICA,

 Plaintiff,

 v.                                                                                 20-CR-330-AJN
 GHISLAINE MAXWELL,

         Defendant.

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                          ORDER FOR ADMISSION PRO HAC VICE

        The motion of Jeffrey S. Pagliuca for admission to appear and practice pro hac vice in

this action is GRANTED.

        Applicant has declared that he is a member in good standing of the bar of the state of

Colorado; and that his contact information is as follows:

                 Jeffrey S. Pagliuca, Colorado Atty. Reg. #12462
                 HADDON, MORGAN AND FOREMAN, P.C.
                 150 East 10th Avenue
                 Denver, CO 80203
                 Phone: 303.831.7364
                 Fax: 303.832.2628
                 jpagliuca@hmflaw.com

        Applicant having requested admission pro hac vice to appear for all purposes as counsel

for defendant Ghislaine Maxwell in this action,

        IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in his

action in the United States District Court for the Southern District of New York. All attorneys




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appearing before this Court are subject to the Local Rules of this Court, including the Rules

governing discipline of attorneys.



Date:
                                                     United States District Judge
                                                     Alison J. Nathan




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